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5    Counsel for Amici Curiae Legal Scholars                            *Pro hac vice application forthcoming
6
7                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
8                                      SAN FRANCISCO DIVISION
9
10    CARLOS DADA, SERGIO ARAUZ,
      GABRIELA C. GUTIERREZ, JULIA
11    GAVARRETE, ROMAN GRESSIER,                               Case No. 3:22-cv-07513
      GABRIEL LABRADOR, ANA B.
12    LAZO ESCOBAR, EFREN LEMUS,                               Hon. James Donato

13    CARLOS MARTINEZ, OSCAR
                                                               Hearing date not set
      MARTINEZ, MARIA L. NOCHEZ,
14    VICTOR PENA, NELSON R.                                   [PROPOSED] ORDER GRANTING
      ZABLAH, MAURRICIO S.                                     MOTION FOR LEAVE TO FILE
15    SARIANO, JOSE L. SANZ, DANIEL                            BRIEF OF LEGAL SCHOLARS AS
      R. MARTINEZ, DANIEL                                      AMICI CURIAE IN SUPPORT OF
16                                                             PLAINTIFFS’ OPPOSITION TO
      LIZARRAGA, and CARLOS L.
                                                               DEFENDANTS’ MOTION TO
17    SALAMANCA,                                               DISMISS
18            Plaintiffs,
      v.
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20
21    NSO GROUP TECHNOLOGIES
      LTD, and Q CYBER
22    TECHNOLOGIES LTD,
23
              Defendants.
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                 [Proposed] Order Granting Leave to File Brief of Amici Curiae Legal Scholars (Case No. 3:22-cv-07513)
         Case 3:22-cv-07513-JD Document 51-2 Filed 05/26/23 Page 2 of 2




1
            Motion for leave to file brief of legal scholars as amici curiae in support of plaintiffs’ opposition
2
     to defendants’ motion to dismiss is hereby granted.
3
4           IT IS SO ORDERED.
5
     Dated: __________________                                        ________________________________
6                                                                     HON. JAMES DONATO
                                                                      UNITED STATES DISTRICT JUDGE
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                [Proposed] Order Granting Leave to File Brief of Amici Curiae Legal Scholars (Case No. 3:22-cv-07513)
